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 4
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 5   SANTIAGO FIERRO
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 7
                              UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA          )              CASE NO. CR-F-04-5196-OWW
                                       )
11                                     )              STIPULATION TO CONTINUE
                      Plaintiff,       )              SENTENCING
12                                     )
           v.                          )
13                                     )
     SANTIAGO FIERRO,                  )
14                                     )
                      Defendant.       )
15   _________________________________)
16
              Defendant SANTIAGO FIERRO, by and through his counsel of record, CAROLINE
17
     C. MCCREARY, and Plaintiff, UNITED STATES OF AMERICA, by and through its
18
     counsel of record, KATHLEEN A. SERVATIUS, Assistant United States Attorney for the
19
     Eastern District of California, hereby stipulate that the sentencing in the above-referenced
20
     case currently scheduled for Monday, March 13, 2006, at 9:00 a.m. be continued to Monday,
21
     April 10, 2006, at 9:00 a.m. in the courtroom for the Honorable Oliver W. Wanger, District
22
     Judge.
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      Case 1:04-cr-05196-LJO Document 143 Filed 03/10/06 Page 2 of 2


 1   IT IS SO STIPULATED
                                               Respectfully submitted,
 2
 3
     Dated: March 8, 2006                      /s/ Caroline C. McCreary
 4                                             CAROLINE C. MCCREARY
                                               Attorney for Defendant
 5                                             SANTIAGO FIERRO
 6
 7   IT IS SO STIPULATED
 8
 9   Dated: March 8, 2006                      /s/ Kathleen A. Servatius
                                               KATHLEEN A. SERVATIUS
10                                             Assistant U.S. Attorney
     IT IS SO ORDERED.
11
     Dated:    March 8, 2006               /s/ Oliver W. Wanger
12   emm0d6                          UNITED STATES DISTRICT JUDGE
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